 

Case 4:22-cr-20278-SDK-Cl ECF No. 1, PagelD.1 Filed 06/01/22 Page 1 of 3 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

as Case:4:22-cr-20278
Plaintiff, Judge: Kumar, Shalina D.
MJ: ivy, Curtis
Vv, Filed: 06-01-2022 At 02:48 PM
IN RE: SEALED MATTER (sk)

ANTHONY D. GUTEK,

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES:
COUNT ONE
PROHIBITED PERSON IN POSSESSION OF A FIREARM
(18 U.S.C. § 922(g)(1))
On or about September 30, 2021, in the Eastern District of Michigan,
ANTHONY D. GUTEK, knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed,

in and affecting commerce, a firearm, specifically a Taurus, model G2C, 9mm

caliber pistol in violation of Title 18, United States Code, Section 922(g)(1).

 

 
 

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FORFEITURE ALLEGATION- FIREARMS AND AMMUNITION
(18 U.S.C. § 924(d)(1))

The allegations contained in Count One of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to Title 18, United States Code, Section 924(d)(1).

Upon conviction of the offense charged in Count One, ANTHONY D.

GUTEK, shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 924(d\({1) any firearm or ammunition involved in said offense.

THIS IS A TRUE BILL.

Dated: June 1, 2022

 

DAWN N. ISON
United States Attorney

s/JULES M, DePORRE

JULES M. DePORRE

Assistant United States Attorney
MI State Bar P-73999

600 Church Street

Flint, Michigan 48502-1280

 

s/GRAND JURY FOREPERSON

 

s/ANTHONY P. VANCE
ANTHONY P. VANCE

Assistant United States Attorney
Chief, Branch Offices

 
 

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Companion Case information MUST be completed by AUSA and initialed.

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

 

 

 

 

NOTE: It ts the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

Companion Case information ee Companion Case Number:
This may be a companion case based upon LCrR 57.10 (yay Judge Assigned:
[] Yes No AUSA’s Initials: JMD

 

 

 

Case Title: USA Vv. ANTHONY D. GUTEK

 

County where offense occurred : GENESEE

 

Check One: Felony [_] Misdemeanor ] Petty
X Indictment/ Information --- no prior complaint.
Indictment/ Information -- based upon prior complaint [Case number: ]
Indictment? Information —- based upon LCrR 57.10 {d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

 

CT Original case was terminated; no additional charges or defendants.
Corrects errors; no additional charges or defendants.
[_] Involves, for plea purposes, different charges or adds counts.
[_] Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Piease take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

June 1, 2022 s/JULES M. DePORRE

Date Jules M. DePorre
Assistant United States Attorney

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600 Church Street

Flint, Michigan 48502
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P73999

‘ Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
03/11/2013

BC
